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iPhone Features Built-in Apps From the App Store ios iCloud Tech Specs

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Wee Me

Siri. &a
Your wish is
its command.

Siri on iPhone 4S lets you use your
voice to send messages, schedule
meetings, place phone calls, and
more. Ask Siri to do things just by
talking the way you talk. Siri
understands what you say, knows
what you mean, and even talks
back. Siri is so easy to use and does
50 much, you'll keep finding more
and more ways to use it.

Saturday
May 2012

See how Siri works:

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alate l=imacelmnu alin |

Reminders

| Pick up my dress

Leaving: Work

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It knows what you mean.

Siri not only understands what you say, it’s smart
enough to know what you mean. So when you ask
“Any good burger joints around here?” Siri will reply

http://www.apple.com/iphone/features/siri.html[2/1/2012 12:11:18 PM]

It understands what you say.

Talk to Siri as you would to a person. Say something like
“Tell my wife I’m running late.” “Remind me to call the
vet.” “Any good burger joints around here?” Siri does
what you say, finds the information you need, then
answers you. It's like you're having a conversation with
your iPhone.
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“| found a number of burger restaurants near you.
Then you can say “Hmm. How about tacos?” Siri

remembers that you just asked about restaurants,

so it will look for Mexican restaurants in the
neighborhood. And Siri is proactive, so it will
question you until it finds what you're looking for

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Columbus Avenue

The Stinking Rose

Kearny Street
Tommaso Ristorante Italiano

Green Street

Sotto Mare_

It helps you do the things
you do every day.

Ask Siri to text your dad, remind you to call the
dentist, or find directions, and it figures out
which apps to use and who you're talking
about. It finds answers for you from the web
through sources like Yelp and WolframAlpha.
Using Location Services, it looks up where you
live, where you work, and where you are. Then
it gives you information and the best options
based on your current location. From the
details in your contacts, it knows your friends,
family, boss, and coworkers. So you can tell Siri
things like “Text Ryan I’m on my way” or
“Remind me to make a dentist appointment
when | get to work” or “Call a taxi” and it knows
exactly what you mean and what to do.

It has so much to tell you.

When there’s something you need to do, just ask Siri to help you do it. Siri

uses almost all the built-in apps on iPhone 4S. It writes and sends email

Siri Frequently Asked Questions

messages and texts. It searches the web for anything you need to know. It & Read answers to common

plays the songs you want to hear. It gives you directions and shows you

questions and learn how Siri
works. See the Siri FAQ >

around. It places calls, schedules meetings, helps you remember, and wakes
you up. In fact, ask Siri what it can do — it even speaks for itself.

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elise LMM VG (86Gb

Reminders

To: Kate Egan

' Be there in 30 minutes

Pick up my dress

a a -
Set reminders. Send a text. Check the weather.
Tell Siri what you need to do. Even Say who it's for and what the Siri gives you the forecast for
say when and where you need message should say, and Siri where you are or anywhere you're
reminding. writes and sends your text. curious about.
a

iPhone 4S takes
dictation.

Here's another amazing way to get things
done: just use your voice. Instead of typing,
tap the microphone icon on the keyboard.
Then say what you want to say and iPhone
listens. Tap Done, and iPhone converts your
words into text. Use dictation to write
messages, take notes, search the web, and
more. Dictation also works with third-party
apps, so you can update your Facebook
status, tweet, or write and send Instagrams.

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Cc/Bce; From: zgoslerSS@me.com /Boc: From: zgosiarS:

Subject: Back at school

Bz )x]e]vf=|u]ufc-

wad

Call Apple.

“

Apple Store app.

Visit a store.

5

Shop online.

iPhone 4

On AT&T, Sprint,
and Verizon.

Starting at $199

Order your iPhone online
and get it delivered to
your door. It ships free
and ready to use.

Buy iPhone at the Apple
Retail Store and we'll
activate it and set it up
just the way you want,

Get answers before you
buy. Call
1-800-MY-APPLE to talk
with a knowledgeable

It's the easiest way to
buy iPhone 48 — right
from your current
iPhone,

Buy online now, > Find a store. > Specialist. Download now }

Siri is available in Beta only on iPhone 45 and requires Internet access. Siri may not be available in all languages or in all areas, and features may vary by area. Cellular data charges may

apply.
@ iPhone Features Siri
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